 Case 2:11-cv-00084 Document 1338 Filed on 04/05/23 in TXSD Page 1 of 1
                                                                               United States Courts Southern
                                                                                      District of Texas
                                                                                             FILED
                                                                                        April 5, 2023
~ram: Betty Harris ~ -
Sent: Wednesday, April 5, 2023 6:38 AM                                      Nathan Ochsner, Clerk of Court
To: TXSDdb_Corpus-Operation <corpus operation@txs.uscourts.gov>; stephanie.muth@dfps.texas.gov;
news@chron.com; clint.cox3@dfps.texas.gov; martha.talbert@dfps.texas.gov

Subject: CPS Region 6 mistreatment

CAUTiON ; EXTERNAL:
To whom it may concern,


'I hope this email can make it up to Judge Jack, but there needs to be a thorough investigation in
the mistreatment of staff under the leadership of division adminstrator Jana Jordan and deputy
director Cameron Garza. We have true abuse and neglect cases they are having us rule out
instead of RTB'ing due to placement shortage in Texas. We are working overtime to get the
cases submitted within the alloted timeframe and they are refusing to pay the staff overtime. The
unquestionable high turnover rate of staff and no one is investigating why people are leaving the
department. Being subjected to unfair, unprofessional, and retalitory behavior that is
demonstrated on a daily bases. Vacation's not being granted even after being approved by a
previous supervisor and or program adminsitrators. Please investigate this matter people are
suffering in silence and nothing is being done. When those that do speak up they are being
harrassed daily that they end up leaving the department altogether the stress is not worth it.
These two women are ruining what it truly means to keep children safe.

'CAUTION -EXTER.NAL EMAIL: Th.is email originated outside the Judiciary. Exe.rcise caution
wheh openi~g atta~hments or clic~ing ori links. _· ·
